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        In the United States Court of Federal Claims
  * * * * * * * * * * * * * * * * **
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  RAINMAKERS STRATEGIC                       *
  SOLUTIONS, LLC,                            *
                                             *
                     Protestor,              *
                                               No. 17-1160C
                                             *
  v.                                           Filed: November 17, 2017
                                             *
  UNITED STATES,                             *
                                             *
                     Defendant.              *
                                             *
  * * * * * * * * * * * * * * * * **

                                        ORDER

       The court is in receipt of the November 17, 2017 stipulation of dismissal with
prejudice in the above-captioned bid protest. Pursuant to Rule 41(a)(1) of the Rules of
the United States Court of Federal Claims (2017), this court ORDERS that this case be
DISMISSED with prejudice, with each party to bear its own costs and fees. The Clerk’s Office
shall enter JUDGMENT consistent with this Order.

       IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
